                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         1:24-CV-00017-LCB-JLW

JOHN DOE 1, a minor, by and through
his parent and natural guardian JANE
DOE 1; JOHN DOE 2, a minor, by and
through his parent and natural guardian
JANE DOE 2; and JOHN DOE 3, a
minor, by and through his parent and
natural guardian, JANE DOE 3; on
behalf of themselves and all others
similarly situated,

       Plaintiffs,

v.                                                 EMERGENCY MOTION FOR
                                                     STATUS CONFERENCE
NORTH CAROLINA DEPARTMENT
OF PUBLIC SAFETY; EDDIE M.
BUFFALOE, JR., Secretary of the
North Carolina Department of Public
Safety, in his official capacity;
WILLIAM L. LASSITER, Deputy
Secretary of the Division of Juvenile
Justice and Delinquency Prevention, in
his official capacity; PETER BROWN,
Facility Director of the Cabarrus
Regional Juvenile Detention Center, in
his official capacity,

       Defendants.


       Plaintiffs John Doe 1 and John Doe 2 (“Plaintiffs”) respectfully submit this

Emergency Motion for Status Conference to afford the Parties an immediate conference on

an exigent and critical issue: Defendants’ failure to conduct and complete review of email

communications potentially responsive to Plaintiffs’ document requests and its effect on

the Scheduling Order in this case. Plaintiffs have conferred and attempted to collaborate




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with Defendants repeatedly about email review and production over the course of

discovery in an attempt to avoid Court intervention. Less than two weeks before the fact

discovery deadline, however, it is now clear that Defendants had no intention to ever

comply with the fact discovery deadline set out in this case.1

       On May 3, 2024, Plaintiffs served their First Requests for Production of Documents

(the “Requests”) on Defendants. Many of the Requests seek communications, including

email, from Defendants. In an attempt to expedite Defendants’ document review and

production, starting in July 2024 Plaintiffs worked extensively with Defendants in an

attempt to help them craft search terms to identify responsive documents to the Requests.

The parties reached agreement on search terms for particular Requests on a rolling basis

and expected that Defendants were reviewing those documents on a rolling basis. For

example, as of September 27, 2024, the Parties had agreed upon an initial set of search

terms and custodians, and by October 15, 2024, the Parties had resolved all outstanding

issues regarding the scope of Defendants’ document collection and review.

       Although Plaintiffs were persistent in following up with Defendants regarding the

status of their email review and production, Defendants did not produce a single email

from their email review until January 8, 2025—less than 4 weeks before the fact discovery

deadline—when Defendants produced 29,594 documents (the “January 8 Production”).2



1
 Counsel for Plaintiffs reached out to counsel for Defendants for their position on the “need
to have a status conference with the court regarding the status of discovery.” Defendants’
counsel advised they believed a status conference would make sense.
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  It is not clear yet from communications with Defendants how many of those documents,
if any, Defendants have actually reviewed for responsiveness to Plaintiffs’ Requests.

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The next day, Defendants confirmed to Plaintiffs that the January 8 Production “should

have contained ALL non-privileged emails collected from the custodians.” (Jan. 9, 2025

Email from M. Tulchin to R. Lindholm, attached hereto as Exhibit A) (capitalization in

original.) That representation was incorrect.

       After beginning to review Defendants’ January 8 Production, Plaintiffs quickly

realized that there were numerous deficiencies in the document production.           Most

importantly, as Plaintiffs noted in a January 10, 2025 letter to Defendants, the volume of

the January 8 Production was highly questionable given that the final set of hit counts

Defendants provided to Plaintiffs showed the agreed-upon search terms hitting on hundreds

of thousands of documents. (Jan. 10, 2025 Letter from R. Lindholm to M. Tulchin,

attached hereto as Exhibit B.)

       On January 16, 2025, Plaintiffs took the deposition of Belinda Cauthen, an

employee of Defendant North Carolina Department of Public Safety (“NCDPS”). During

Ms. Cauthen’s deposition, Ms. Cauthen testified regarding a daily report that she and other

educators received regarding juveniles’ availability to attend class and whether they were

in solitary confinement. It became apparent during the deposition that Defendants had only

produced a small subset of those daily reports.

       Only after Ms. Cauthen’s deposition revealed that Defendants’ document

production was incomplete did Defendants respond to Plaintiffs’ January 10 letter

regarding deficiencies in their document production. The next day, on January 17, 2025,

Defendants admitted that their prior representation that they had produced all non-

privileged documents was false. (Jan. 17, 2025 Email from M. Tulchin to R. Lindholm,

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attached hereto as Exhibit C.) In fact, the January 8 Production contained only “the first

batch of [email] documents” responsive to Plaintiffs’ Requests.           (Id.)   Defendants

revealed—less than three weeks before the close of fact discovery—“[t]here remain

hundreds of thousands of documents that we have not yet completed our review of

and thus have yet to produce.” (Id. (emphasis added).) Incredibly, Defendants’ proposed

solution was to shift the burden of review to Plaintiffs by “produc[ing] the remaining

hundreds of thousands of documents subject to clawback of any privileged documents that

may inadvertently be remaining in those documents.” (Id.) In short, Defendants would

produce hundreds of thousands of documents to Plaintiffs for Plaintiffs to then review, at

Plaintiffs’ own expense, for Plaintiffs to decide whether the documents were responsive to

Plaintiffs’ own Requests, and for Plaintiffs to advise Defendants if any of the documents

were privileged so that Defendants could claw them back.

       Defendants’ utter failure to conduct and complete a review of potentially responsive

email communications and their transparent attempt to sandbag Plaintiffs in the middle of

depositions with a dump of hundreds of thousands of documents for Plaintiffs to review is

untenable and egregious. It severely prejudices Plaintiffs—a putative class of juveniles

subject to persistent and often long-term solitary confinement at the hands of Defendants

in juvenile jails across the State, which is still occurring today—by impermissibly delaying

discovery and thereby preventing them from effectively prosecuting their case.

       The Parties have already twice been forced to move the Court to extend the

deadlines in the Scheduling Order due to Defendants’ failure to complete their document

production. (See ECF Nos. 43, 46.) In addition, Plaintiffs have already been forced to

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delay the deposition of Belinda Cauthen, previously scheduled for January 9, 2025, due to

Defendants’ failure to produce any of her emails until the January 8 Production, and now

Plaintiffs will be unable to move forward with the depositions of Defendant William

Lassiter, Defendant Peter Brown, and Defendant Eddie Buffaloe, Jr. and the Rule 30(b)(6)

deposition of Defendant NCDPS due to Defendants’ admission that they have failed to

even review, much less produce, hundreds of thousands of potentially relevant documents.

Plaintiffs’ deadline to disclose their expert witnesses is February 18, 2025, and even if

Plaintiffs accepted Defendants’ attempt to shift the burden of discovery to Plaintiffs by

having Plaintiff review hundreds of thousands of Defendants’ documents for

responsiveness to Plaintiffs’ own Requests, there is simply not enough time to identify

documents in Defendants’ proposed production relevant to Plaintiffs’ expert witness

testimony.

       Plaintiffs cannot continue to be forced to extend deadlines and delay depositions

due to Defendants’ inability to complete discovery. Plaintiffs have attempted to work

collaboratively with Defendants, but it is clear that Defendants have no desire to comply

in good faith with their discovery obligations. Defendants’ continued delays serve only to

extend the time that Plaintiffs and the other juveniles in North Carolina Juvenile Detention

Centers sit in solitary confinement, irreparably harming their physical and mental health.

There must be deadlines set for Defendants to complete their document production and for

depositions to be completed. And consequences if Defendants fail to meet those deadlines.

       It is unfortunately ironic that Defendants are defending themselves against

allegations that they detained juveniles in prolonged solitary confinement under the guise

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of staffing shortfalls and now they have failed to comply with their discovery obligations

and blame it on the fact that they have failed to adequately staff the litigation. In neither

case does inadequate staffing excuse Defendants’ actions.           Accordingly, Plaintiffs

respectfully request that this Court schedule a status conference on or before January 24,

2025 to address Defendants’ failure to conduct and complete review of email

communications potentially responsive to Plaintiffs’ document requests and its effect on

the Scheduling Order in this case.

                            [SIGNATURE PAGE FOLLOWS]




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Dated: January 21, 2025

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*Special Appearance Pursuant to Local Civil Rule 83.1(d)
**Notice of Special Appearance Pursuant to Local Civil Rule 83.1(d) forthcoming

Counsel for Plaintiffs




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                             CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2025, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send electronic notification

of such filing to all counsel of record.

Dated: January 21, 2025                     /s/ Robert L. Lindholm
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